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14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18   WAYMO LLC,                                           Case No.     3:17-cv-00939-WHA
19                         Plaintiff,                     DECLARATION OF MICHELLE
                                                          YANG IN SUPPORT OF
20          v.                                            DEFENDANTS’ ADMINISTRATIVE
                                                          MOTION TO FILE UNDER SEAL
21   UBER TECHNOLOGIES, INC.,                             PORTIONS OF THEIR RESPONSE
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                    TO WAYMO’S SUPPLEMENTAL
22                                                        BRIEF REGARDING HASLIM
                           Defendants.                    TESTIMONY, AND SUPPORTING
23                                                        EXHIBITS THERETO
24                                                        Trial Date: October 2, 2017
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     YANG DECLARATION ISO DEFENDANTS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1          I, Michelle Yang, declare as follows:

 2          1.      I am an attorney at the law firm of Morrison & Foerster LLP. I make this

 3   declaration based upon matters within my own personal knowledge and if called as a witness, I

 4   could and would competently testify to the matters set forth herein. I make this declaration in

 5   support of Defendants’ Administrative Motion to File Under Seal Portions of Their Response to

 6   Waymo’s Supplemental Brief Regarding Haslim Testimony, and Supporting Exhibits Thereto.

 7          2.      Some of the highlighted portions of Defendants’ Response to Waymo’s

 8   Supplemental Brief Regarding Haslim Testimony (“Response”), as well as Exhibits 1, 3, and 5 to

 9   the Declaration of Michelle Yang in Support of Defendants’ Response (“Yang Declaration”),

10   discuss Uber’s proprietary and highly confidential designs for Uber’s custom LiDAR system.

11   These portions are highlighted in blue. If such information were made public, I understand

12   Uber’s competitive standing could be significantly harmed. Some portions Defendants’ Response

13   and Exhibit 1 contain Uber’s confidential and sensitive business organization information, and if

14   this information were made public, I understand that Uber’s competitive standing could be

15   significantly harmed. These portions are also highlighted in blue.

16          3.      The entireties of Exhibits 4 and 6 to the Yang Declaration likewise contain Uber’s

17   proprietary and highly confidential information for Uber’s custom LiDAR design. Exhibit 4

18   contains diagrams of Uber’s custom LiDAR design with highly confidential, proprietary technical

19   information. Exhibit 6 is the testimony of an Uber engineer.

20          4.      I understand that this proprietary technical information is maintained as

21   confidential by Uber and is valuable to Uber’s business. The public disclosure of this information

22   would give Uber’s competitors access to in-depth descriptions and analysis of Uber’s custom

23   LiDAR design. The design of Uber’s custom LiDAR system is highly confidential, proprietary

24   information which, if made public, would cause Uber irreparable harm in this very competitive

25   space of autonomous driving.

26          5.      Exhibits 3 and 5 also contain highly confidential information about a third party

27   vendor for Uber’s LiDAR, which is also the subject of a non-disclosure agreement. Defendants

28   are contractually bound to maintain the confidentiality of this third party’s confidential

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 1   information. If this information were to be released to the public, Defendants’ competitors would

 2   have access to detailed information about Defendants’ LiDAR design work, and Defendants’

 3   competitive standing could significantly be harmed.

 4          6.      Some of the highlighted portions of the Response, as well as Exhibits 1, 2, and 5

 5   have been designated by Waymo as either confidential or highly confidential. Waymo’s

 6   designations are highlighted in green in the unredacted copies of the declarations and exhibits.

 7          7.      Uber’s request to seal is narrowly tailored to those portions of the Response and its

 8   supporting papers that merit sealing.

 9          I declare under penalty of perjury under the laws of the United States that the foregoing is

10   true and correct. Executed this 9th day of May, 2017, in San Francisco, California.

11
                                                                   /s/ Michelle Yang
12                                                                     Michelle Yang
13

14                               ATTESTATION OF E-FILED SIGNATURE
15          I, Michael A. Jacobs, am the ECF User whose ID and password are being used to file this
16   Declaration. In compliance with General Order 45, X.B., I hereby attest that Michelle Yang has
17   concurred in this filing.
18   Dated: May 9, 2017                                        /s/ Michael A. Jacobs
                                                                   Michael A. Jacobs
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